* Motion for rehearing denied, without costs, on January 8, 1946.
Trespass.  This action was begun on the 4th day of November, 1944, by Hugo Boneck, plaintiff, against Harry Herman, defendant, to recover damages.  Two causes of action were stated in the complaint.  After the formal allegations and a description of the property for the first cause of action, the plaintiff alleged: *Page 593 
"During the period August, 1943, to July, 1944, while your plaintiff was away from the premises serving his country as a member of the United States Army, the defendant wilfully cut and removed from the premises aforesaid approximately three hundred (300) elm, maple, pine, birch, balsam, hemlock and poplar growing trees, and converted the same to his own use.
"Defendant cut such trees into pulpwood and cordwood of the reasonable market value of one thousand ($1,000) dollars, to plaintiff's damage in the sum of two thousand ($2,000) dollars under section 26.09, Wisconsin Statutes, 1943."
For the second cause of action and after formal allegations, plaintiff alleges:
"The property aforesaid is situated on the banks of the Spirit river near the point where it flows into the Wisconsin river, and was purchased by the plaintiff for use and development as resort property, due to its location close to Tomahawk, its excellent setting, and fine stand of hardened and pine timber.
"Plaintiff occupied and operated such property as a small resort for fishermen and was in the process of developing and improving the same as resort property up to the time he was called into the army.
"Defendant destroyed the value of such premises as resort property when he wilfully denuded the land by cutting down the standing trees, thereby converting the realty from wooded resort property to cutover land, to the plaintiff's damage in the sum of two thousand ($2,000) dollars."
The defendant answered by denying generally the allegations of the first cause of action, and alleged a number of irrelevant matters, and further alleged that he was the owner of a mortgage upon the premises upon which foreclosure proceedings had been instituted and a judgment of foreclosure had been entered; and further, that in removing the trees and debris from said lands, the property was benefited thereby. The defendant also denied that the plaintiff occupied and operated the premises in question as a resort or that he was in *Page 594 
the process of developing and improving the said premises as a resort.
There was a trial.  The court submitted two questions to the jury, which the jury answered as follows:
First question:  What was the market value of the real estate belonging to the plaintiff immediately before the trees were cut therefrom, which cutting began in August, 1943?  Answer: $1,800.
Second question:  What was the market value of the real estate belonging to the plaintiff immediately after the cutting of the trees therefrom, which cutting ended in February, 1944? Answer: $800.
There was a motion for a new trial on various grounds, which was denied.  The court ordered judgment in favor of the plaintiff in the sum of $2,000 damages, plus his costs and disbursements.  Judgment was entered accordingly on April 24, 1945, from which the defendant appeals.
Two causes of action were stated. The first cause of action was for the value of the pulpwood and cordwood cut and removed from the premises by the defendant. Upon the trial, this cause of action was abandoned. The second cause of action stated was for damage to the real estate caused by the cutting and removal of timber by the defendant.
At the close of the evidence and before the argument of counsel to the jury, the following proceedings were had:
"The court:  Is it agreeable to counsel for both plaintiff and defendant that these two questions be the only two questions submitted to the jury?
"Mr. Hebert:  Yes.
"Mr. Wurster:  It is. *Page 595 
"The court:  Neither of you have any request for any other questions to be submitted?
"Mr. Hebert.  No.
"Mr. Wurster.  Plaintiff has none."
The verdict contained no question relating to the wilfulness of the trespass nor respecting the alleged defenses set forth in the defendant's answer.
Sec. 270.28, Stats., provides:
"When some controverted matter of fact not brought to the attention of the trial court but essential to sustain the judgment is omitted from the verdict, such matter of fact shall be deemed determined by the court in conformity with its judgment and the failure to request a finding by the jury on such matters shall be deemed a waiver of jury trial pro tanto."
By statutory definition, sec. 2857, Stats. 1878, a special verdict is that by which the jury finds the facts only, leaving the judgment to the court.  A general verdict is one by which the jury pronounces upon all or any of the issues either in favor of the plaintiff or the defendant.  Davis v. Chicago, M. St. P.R. Co. (1896) 93 Wis. 470, 482, 67 N.W. 16, 67 N.W. 1132.
The verdict in this case was therefore a special verdict.  So the trial court must be presumed to have found that the trespass was wilful and that the alleged defenses of the defendant were without merit and did not constitute a defense.
The situation in which we find the record leaves the only question open for consideration by this court whether there is evidence from which the jury could find that the damage to the land was $1,000.  The plaintiff testified:
In my opinion, this property before the cutting of the trees was worth between $2,500 and $3,000 and since the cutting is worth between $600 and $1,000.
Harry A. Peterman, a real-estate broker living at Merrill, after viewing the premises, testified:
The property was worth between $2,000 and $2,500 with the trees on.  The property with trees off would be worth somewhere between $500 and $1,000. *Page 596 
Peterman testified that he had dealt in summer-resort property but had never sold property around Tomahawk.
F. P. Werner, a witness on behalf of the plaintiff, testified:
I live at Tomahawk and am a real-estate broker.  I inspected the Spirit premises.  If the timber that was cut was good live timber, the property would be worth from $1,500 to $2,000, that is if the trees were living — after cutting $750 to $800.
Ed.  MacDonald, a state cruiser, had lived in Tomahawk, Wisconsin, fifty-two years, had been an appraiser, viewed the property but gave no opinion as to its value.  MacDonald later recalled, testified that before the cutting, the property was worth $1,000, after the cutting $850.
The defendant testified, describing the premises, but expressed no opinion as to value.
Phil Griel, on behalf of the defendant, testified that he lived close to Boneck's place; that in his opinion the value of the property in August was $800, after the cutting, was worth $650.  He testified that in placing the value he had merely deducted the value of the stumpage.  He put no value on the property as resort property.
It is undisputed in the evidence that the property was subject to flowage, and in the opinion of some of the witnesses was not suitable for resort purposes for that reason. The plaintiff testified that —
"the dam went out on Labor Day, 1941, and I had to move out of there fast.  Prior to that time, I had built another cottage which had just about been completed before the flood — the flood took this cottage, the water reached a point three and one-half to four feet inside the cottage."
A careful study of the entire record in this case convinces us that there has been a miscarriage of justice in this case. While we cannot say that the testimony which tends to support the verdict is incredible, when the verdict is considered in connection with the whole evidence, it appears to be excessive and unreasonable.  The legal effect of the fact that the defendant was a mortgagee in peaceable possession does not seem *Page 597 
to have been called to the attention of the court.  See Schwartzburgv. Rahtjen (1938), 227 Wis. 525, 536, 279 N.W. 19. There is evidence in the record which presents a jury issue as to whether the trespass, if any, in this case is wilful.  Wilful trespass is an essential element of plaintiff's claim to double damages.  Sec. 26.09, Stats.
In view of the result reached, the court is of the view that the statutory presumption should not prevail in this case.  The failure to have the issues properly submitted was due to the failure of counsel to make a proper request.  The trial court made due inquiry of counsel as to whether any other questions than those relating to damage should be submitted.  Nevertheless, it is considered that the court in this case should exercise the power conferred upon it by sec. 251.09, Stats. That section provides:
"In any action or proceeding brought to the supreme court by appeal or writ of error, if it shall appear to that court from the record, that the real controversy has not been fully tried, or that it is probable that justice has for any reason miscarried, the supreme court may in its discretion reverse the judgment or order appealed from, regardless of the question whether proper motions, objections, or exceptions appear in the record or not, and may also, in case of reversal, direct the entry of the proper judgment or remit the case to the trial court for a new trial. . . ."
Counsel for the defendant neglected to comply with the rules relating to appeals to this court.  No judgment was returned with the record; the brief of defendant is inaccurate and the appendix does not comply with the rule.
By the Court. — The judgment appealed from is reversed, and the cause is remanded to the trial court with directions to grant a new trial.  The defendant shall be allowed no costs on this appeal and shall pay the clerk's fees.